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United States District Court GE l'"""lf 23 ‘Pl`*‘¥ 52= 56

for
Western District of Tennessee

 

U.S.A. vS. Jeffrey Hardin Docket No. 04~20502~001

Petition for Action on Conditions of Pretrial Release

COMES NOW PR_ETRIAL SERVICES OFFICER Loretta Fleming presenting an official report upon the conduct
of defendant J effrey Hardin Who was placed under pretrial release supervision by the Honorable Diane K. Vescovo
sitting in the court at Memphis, TN1 on the 4th day ofJanuary, 2005 under the following conditions:

]) Report to Pretrial Services as directed

2) Refrain from possessing a firearm, destructive device, or other dangerous Weapon

3) Refrain from unlawful possession or use of a narcotic drug or other controlled substance

4) Submit to substance abuse testing as directed by the pretrial services officer or supervising officer

5) Participate in substance abuse treatnient, if deemed advisable by the pretrial services officer or supervising officer

RESPECTFULLY P|'{|;`SENT[NG P]`;TITION FOR AC'|`ION OF COURT AND FOR CAUSE .'\S I:Ol_l.OWS:
(lfshort insert here: if lengthy write on separate sheet and attach)

SEE PAGE 2 FOR CAUSE

PRAYING THAT THE COURT WILL ORDER THAT THE DEFENDANT UNDERGO MENTAL HEALTH
TREATMENT IF DEEMED ADVISABLE BY THE PRETRIAL SERVICES OFFICE OR SUPERVISING
OFFICER WITH TREATMENT RECORDS TO BE MADE AVAILABLE TO PRETRIAL SERVICES.

ORDER OF COURT l declare under penalty of perjury that the
y g foregoing is true and correct.

Considered nd ordered this ii __ / vi

day of H , ZO_Qf_' and ordered Exccuted on Mal‘€l'l 28, 2005

filed and made a art of the records in the above '

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U.S. District Judge/Magistrate Place Memphis, TN

 

 

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RE: Jeffrey Hardin
Petition for Action on Conditions of Pretrial Release
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.leffrey Hardin reported to Pretrial Services on February l, 2005, and stated that his mental health
treatment at Health Quest was discontinued due to his no longer receiving TennCare. At that time,
the defendant executed a Consent to Modify Conditions of Release adding the condition that he
undergo mental health treatment if deemed advisable by the pretrial services office or supervising
officer. However, contact was made with the defendant’s attorney, Assistant Federal Public
Defender J. Patten Brown, who indicated that he will execute the Con sent form contingent upon full
knowledge and understanding that Mr. Hardin’s mental health records may not be disclosed to
Pretrial Services.

This officer recommends that the mental health condition be added to the defendant’s conditions of
release to reduce his risk of nonappearance and danger associated with his emotional or mental
health. lt should be noted that prior to pretrial release, the defendant was prescribed Lexapro and
Mirtazapine for depression

Assistant U.S. Attorney Katrina U. Earley has been apprised of this recommendation and is in
agreement with it.

lt is therefore recommended that the def`endant’s conditions of release be modified as follows:

l) Undergo mental health treatment ifdeeined advisable by the pretrial services office or supervising
officer with treatment records to be made available to Pretria] Services.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20502 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable Samuel Mays
US DISTRICT COURT

